           Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 1 of 14




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT


   GARRET SITTS, et al.,

           Plaintiffs,                                       Civil Action No. 2:16-cv-00287-cr

   v.

   DAIRY FARMERS OF AMERICA, INC. and
   DAIRY MARKETING SERVICES, LLC,

           Defendants.



            DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
                    DAIRY MARKETING SERVICES, LLC’S
        SUBMISSION IN ADVANCE OF TELEPHONIC STATUS CONFERENCE

        The Court has set this case to begin a month-long jury trial in Burlington, Vermont on July

1, 2020. Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services, LLC (together

“DFA”) have filed an emergency motion to reconsider that Order and to reschedule the trial for a

date when COVID-19 presents less of a risk to the health and safety of Vermont jurors, witnesses,

the Court and its staff, other trial participants, and Vermonters generally. That motion is fully

briefed and we understand that the Court will hear argument on the matter by telephone on June

3, 2020.

        The Court has also scheduled a status conference in the case for June 3, 2020. We expect

that the Court, should it deny the motion to reschedule the trial, will wish to address with the parties

some of the logistical and practical concerns inherent in holding a jury trial at this time. The risks,

complications, and procedural hurdles to conducting a massive and lengthy jury trial amidst this

on-going health emergency are staggering. The stakes are too high to proceed at this time. That

becomes that much more clear when considering what would be involved in any plan thorough
            Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 2 of 14




enough to ensure the trial will not needlessly put lives at risk. There are many aspects necessary

to consider in attempting to formulate such a plan—and at this late date, less than a month before

trial, it is simply not possible to devise, much less implement, a plan that will pass muster. In order

to facilitate consideration of concerns that would need to be thoroughly addressed before any trial

can proceed, DFA respectfully submits the following list of topics for discussion.

                                          *       *       *

I.     QUARANTINE-RELATED ISSUES

       A.       Must out-of-state attorneys, other trial team members, and witnesses self-
                quarantine upon arrival in Vermont, and for how long? Can they use public lodging
                to do so?

       B.       The Fourth of July holiday begins three days after jury selection. Will the Court
                instruct jurors and other trial participants that they cannot leave the state for the
                holiday?

       C.       If jurors or other trial participants do leave the state for the holiday weekend, must
                they self-quarantine upon return before attending trial?

       D.       Will the Court require any kind of acknowledgement by jurors or other trial
                participants that they will not engage in holiday activities that would potentially
                lead to greater risk of exposure to COVID-19 (e.g., no parties or other activities
                with more than 10 people present, no exemption from social distancing, etc.)?

       E.       During trial, will jurors be permitted to leave Vermont or interact with individuals
                who have come from out-of-state?

       F.       Will witnesses, attorneys, and other trial team members be permitted to leave
                Vermont and return during trial?

       G.       Will witnesses, attorneys, and other trial team members be permitted to meet their
                families in person during trial if those family members are coming from out-of-
                state? Will those individuals be exempted from quarantine requirements?

II.    JUROR SUMMONS AND SELECTION

       A.       Juror Summons and Questionnaire

                1.     How many jurors will be summoned to ensure an adequate juror pool?

                2.     When will the Court send out juror summonses?



                                                  2
            Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 3 of 14




                3.    Will the summonses include any special instructions regarding COVID-19?

                4.    Will the juror questionnaire include any special questions because of
                      COVID-19?

                5.    What, if any, efforts has the Court taken to reassure prospective jurors about
                      their safety, e.g., the recommendations in the Vermont Supreme Court’s
                      Long-Term Planning Committee’s Ramp-Up Report?1

                6.    What will jurors be told if they call-in to ask about the safety of appearing
                      in response to the summons?

                7.    If jurors have recently traveled out-of-state or are otherwise subject to local
                      quarantine or self-isolation requirements, will the jurors be instructed not to
                      appear?

       B.       Juror Orientation

                1.    Will potential jurors be told during orientation (or at some other time) about
                      the large number of trial team members and witnesses that will be attending
                      this trial from out-of-state, and the particular states and metropolitan areas
                      involved (e.g., San Francisco, Washington, D.C., Boston, Chicago)?

                2.    How many jurors will be seated for orientation, and under what social-
                      distancing conditions?

                3.    Will the Court permit attorneys to attend the juror orientation, as the Court
                      instructed during the November 2019 pretrial conference.2 If so, how will
                      social distancing be maintained?

                4.    Will the Court permit the parties to attend the juror orientation, as the Court
                      instructed during the November 2019 pretrial conference.3 If so, how will
                      social distancing be maintained?



1
        See Mot. to Recons. Ex. 2, Vermont Supreme Court, Long Term Planning Committee:
Ramp-Up        Report      at     12      (May       13,     2020),      ECF       No.      194-2,
https://www.vtbar.org/UserFiles/files/COVID%2019/Long%20Term%20Planning%20Committe
e%20Ramp-Up%20Report%20(5-13-20).pdf (“A vigorous education program for potential jurors
and the public at large, which includes the Judiciary’s recognition of the need to keep jurors safe
and the steps we are taking to do so should be undertaken. This should include press releases,
public service announcements and other strategies to underscore the vital role jurors play in our
justice system. . . . The message should be sent that when jurors are ultimately summoned, it is
being done after full consideration and implementation of Vermont Department of Health and
CDC guidelines and social distancing will be observed during their term of service.”).
2
        Hr’g Tr. 22:6-7, Nov. 14, 2019, ECF No. 141.
3
        Id.


                                                3
      Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 4 of 14




    C.     Juror Selection

           1.         How will the physical process of juror selection work? For example, where
                      will the venire of prospective jurors be physically located?

           2.         The Court previously instructed that “[w]e will have this entire jury box
                      filled, and we’ll have a row of jurors in front of it, and you will make your
                      for-cause challenges to this entire group, which I call the panel, and you will
                      make your peremptories to the first 12, which I call the box, and that has
                      the effect of moving people into the box who you’ve at least preliminarily
                      not challenged for cause.”4 How will the Court amend that procedure to
                      take into account capacity and social-distancing requirements?

           3.         How many prospective jurors will be part of the venire and participating in
                      voir dire?

           4.         Where will the lawyers and parties be located during voir dire and jury
                      selection?

           5.         Will there be any limitations on attendance by the parties, counsel, and trial-
                      team members during voir dire and jury selection?

           6.         Will there be accommodations for trial team members, including jury
                      consultants, who are unable to attend the voir dire and jury selection
                      because of issues related to COVID-19?

    D.     Juror Excuses

           1.         The Court previously instructed that it does “not excuse anybody unless
                      they have a flight itinerary, a doctor’s appointment, or a really compelling
                      reason.”5 Will that still be the case?

           2.         What types of medical conditions or concerns will the Court accept as
                      reasons to excuse a potential juror?

           3.         Will the Court accept the full list of medical conditions and physical
                      attributes that the Centers for Disease Control and Prevention have
                      identified as rendering a person as being “at higher risk for severe illness
                      from COVID-19,” including persons who are (i) over the age of 65; (ii) live
                      in a nursing home or long-term care facility; (iii) have serious heart
                      conditions; (iv) have moderate to severe asthma; (v) have severe obesity;




4
    Id. at 25:6-11.
5
    Id. at 24:3-5.


                                                4
           Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 5 of 14




                     (vi) have diabetes; (vii) have chronic kidney disease; (viii) have liver
                     disease; or (ix) are immunocompromised.6

               4.    Will jurors have to disclose their sensitive medical conditions in writing,
                     conversation on the record, or otherwise? If so, how will those sensitive
                     conversations occur to maintain confidences?

               5.    Will medical professionals be excused from jury service?

               6.    Will individuals otherwise classified as essential workers be excused?

               7.    Will parents without sufficient child care because of COVID-19 closures be
                     excused?

               8.    Will individuals be questioned and potentially excused because of conduct
                     or living situations that present higher risks of COVID-19 contraction, such
                     as living with others, living in apartment buildings or group homes, or
                     having recently traveled out-of-state?

               9.    Will any of the above be considered “for cause” challenges or will the
                     parties be obligated to use peremptory challenges for jurors who express
                     concerns related to COVID-19 or otherwise fall into any of the categories
                     described above?

      E.       Jury Charge and Instructions

               1.    Will the jury be informed that numerous individuals attending trial—
                     including trial team members, parties, and witnesses who are planning to
                     attend trial live each day—qualify as “high risk” individuals under public
                     health guidelines? If so, how will that communication occur?

               2.    Will the jury charge include any instructions regarding COVID-19?

               3.    Will the Court instruct jurors on what they can infer from a witness’ and/or
                     counsel’s insistence on wearing special personal protective equipment?

               4.    Will the jury be told which witnesses’ unavailability resulted from concerns
                     regarding COVID-19?

               5.    Will the Court follow the process for setting jury instructions that it
                     described during the November 2019 pretrial conference, which included
                     the exchange of sets of colored papers?7


6
       People Who Are at Higher Risk for Severe Illness, Coronavirus Disease 2019 (COVID-
19), Centers for Disease Control & Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-at-higher-risk.html (last visited June 2, 2020).
7
       Hr’g Tr. 27:19-23, Nov. 14, 2019, ECF No. 141.


                                              5
            Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 6 of 14




III.   JURY MANAGEMENT DURING TRIAL

       A.       Juror Health Testing

                1.    Will jurors be tested for COVID-19 before or during trial?

                      a)     If testing is required, how and where would tests be performed?

                      b)     If testing is required, what restrictions will apply to a juror’s
                             participation in trial while awaiting test results (which we
                             understand can take several days)?

                2.    Will jurors have their temperature checked at any point before or during
                      trial?

                      a)     If so, how often, by whom, and where would this be done? For
                             example, would jurors need to be temperature-tested before coming
                             to the courthouse each day, and at the end of each day?

                      b)     Will the Court require all other trial attendees to engage in similar
                             temperature testing?

                      c)     At what temperature would the Court tell a juror or trial participant
                             not to come to trial?

                      d)     What happens if someone is scheduled to participate in the trial but
                             is told not to come in due to an elevated temperature?

                3.    What is the procedure if a juror develops symptoms of COVID-19 during
                      trial? And what specific symptoms would be involved?

       B.       Juror Physical Protections

                1.    Will the Court employ any physical barriers between the jurors and the rest
                      of the courtroom (plexiglass shields, etc.)?

                2.    How will any protections or barriers be managed to avoid any obstruction
                      of the jurors’ ability to see exhibits and hear the Court and attorneys?

                3.    Where will the jurors safely deliberate?

                4.    How will the jurors safely exchange exhibits amongst themselves during
                      the deliberation process?




                                               6
           Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 7 of 14




               5.      The Court previously instructed that it would do a “pick and go” trial
                       process,8 is that still the plan? If so, how will that work with social
                       distancing and courtroom presence limitations?

      C.       Jury Movement

               1.      Once the jury is selected, how will jurors’ daily arrivals and departures be
                       managed?

               2.      How will lunch and other breaks be handled for jurors?

IV.   COURTHOUSE MANAGEMENT/TRIAL SET-UP

      A.       Management of Common Areas

               1.      Will other in-person proceedings be permitted in the courtroom during the
                       period when the trial is being conducted?

               2.      How will witnesses, jurors, and other trial participants access the courtroom
                       in a timely manner with strict limits on elevator use?

               3.      How early will the courthouse open each trial day to allow for staggered
                       arrival by trial team members/parties/witnesses/jurors/Court personnel, or
                       how will the Court ensure safely distanced interactions with everyone
                       arriving at the courthouse at the same time?

      B.       Courtroom Set-Up

               1.      How will trial set-up work with limits on elevators, particularly the freight
                       elevator?

               2.      When will the lawyers/trial team support/set-up members be allowed access
                       to the courtroom to set up for the trial each day?

               3.      How many people will be allowed in the courtroom at a time for set-up?

               4.      As part of the set-up process, the two sides’ trial graphics technicians will
                       need to check their connections at the same time, but will each side
                       otherwise have separate set-ups so as to minimize shared physical contact
                       with equipment?

               5.      How long will trial team members have in the courtroom to set-up for trial
                       each day in advance of the majority of the attendees coming into the
                       courtroom?




8
      Id. at 23:5-7.


                                                 7
          Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 8 of 14




              6.       How will security be handled for set-up/takedown to maintain social
                       distancing?

              7.       Will the trial teams be allowed to keep materials in the courtroom if they
                       can be safely accessed by those present?

V.   TRIAL MANAGEMENT

     A.       Courtroom Occupancy

              1.       How many trial team members will be permitted in the courtroom at any
                       given time?

              2.       Where will they be located?

              3.       Will there be restrictions on how many trial team members may be present
                       from each side?

              4.       If the number of attorneys present in the courtroom will be limited, what
                       will be the process to change trial team members as needed when witnesses
                       are switched?

              5.       Will there be limits on how many clients may be in the courtroom?

              6.       Will members of the public be admitted and, if so, how many?

              7.       The Court previously said witnesses could remain in the courtroom after
                       they have testified, even if they are called on rebuttal.9 Will that still be
                       permitted? How will that work with social distancing and courtroom
                       capacity limitations?

     B.       Interactions Within the Courtroom

              1.       What are the social distancing rules within the courtroom?

              2.       How will attorneys/trial team members communicate amongst themselves?

              3.       How will attorneys/trial team members communicate with their clients?

              4.       How will attorneys/trial team members communicate with their trial
                       technology assistants on the “hot seat”? Will the hot seat be in the same
                       room?

              5.       Trial team members often retrieve or reference case materials brought into
                       the courtroom. How will these materials be distanced such that trial team
                       members can safely access them?


9
     Id. at 29:9-10.


                                                 8
 Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 9 of 14




     6.    How will conferences work during breaks while maintaining social
           distancing requirements?

     7.    How often during direct and/or cross examination may trial team members
           enter the courtroom to provide case materials, as needed, to those in the
           courtroom?

     8.    How will the physical exchange of materials brought inside the courtroom
           occur while maintaining social distancing requirements?

     9.    What limitations will be placed on individuals delivering items to the
           courthouse during the trial day?

C.   Personal Protective Equipment (“PPE”)

     1.    What, if any, PPE will be required in the courthouse?

     2.    What, if any, PPE will be required in the courtroom?

     3.    Must all trial team members wear masks while in the courtroom?

     4.    Will all attorneys or trial team members be required to wear the same type
           of masks?

     5.    Can attorneys/trial team members wear clear face protectors instead of
           masks?

     6.    Is there a standard that must be set for facial coverings that must apply to
           all participants to avoid bias?

     7.    If PPE is required for attorneys, what steps will be taken to overcome the
           loss of ability to judge demeanor and credibility inherent in the wearing of
           PPE?

     8.    Will the Court provide any PPE for trial participants?

     9.    Will the parties bear any cost for PPE for the jury?

     10.   What plan exists to account for the possibility that attorneys, trial team
           members, jurors, witnesses, and others may have medical conditions that
           prevent them from wearing masks?

     11.   Are gloves required in the courtroom?

     12.   Are gloves required for the handling of materials exchanged with witnesses,
           the parties, the Court, or others?

     13.   Will hand sanitizers be available in the courtroom?



                                     9
      Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 10 of 14




     D.      Length of Trial Day, Breaks, and Other Logistics

             1.       Will the Court place limitations on the length of any aspect of trial as a result
                      of COVID-19 concerns?

             2.       What does the Court intend for the length of the “normal” COVID-19 trial
                      day?

             3.       The Court previously said there would be an hour-long lunch break, as well
                      as morning and afternoon breaks.10 Will those breaks still occur? How will
                      the egress and re-entry from those breaks work with the limits on elevator
                      use? Will the length of the breaks be extended to permit social distancing
                      during egress and re-entry?

             4.       Will there be limits on how many people may use a restroom during a
                      break?

             5.       From past experience, we understand the breakout rooms for the parties
                      hold roughly eight people (though fewer if adhering to social distancing
                      rules). Will each party be provided a larger breakout room to comply with
                      social distancing requirements?

             6.       What are the limitations placed on lunches, including on their delivery?

             7.       Does the Court intend to conduct this as a timed trial (“on the clock”)? If
                      so, how will that timing take into account complications from social
                      distancing requirements and other precautions and complications related to
                      COVID-19?

     E.      Witnesses

             1.       If witnesses must appear out-of-order, or in the other party’s case, because
                      of issues related to COVID-19, how will that work? Will the jury be
                      instructed on those issues?

             2.       The Court said during the November 2019 pretrial conference that witnesses
                      should remain in the hallway before they testify.11 Will that still be the case
                      and how will that take into account social-distancing requirements?

             3.       Will water be allowed in the courtroom, including on the witness
                      stand? Will jurors and witnesses have new cups or will they have marked
                      bottled water?




10
     Id. at 21:2-3.
11
     Id. at 29:8-9.


                                                 10
 Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 11 of 14




F.   Courtroom Sanitation

     1.    How often will the courtroom be sanitized and by what method?

     2.    How will the witness stand be sanitized and how often?

     3.    Will there be separate attorney podiums? If not, how will the attorney
           podium be sanitized as attorneys go back and forth using it?

     4.    If there is an “elmo” projector available for use, how will it be sanitized
           between parties’ use of it?

G.   Exhibits

     1.    How will the exchange and admission of exhibits work?

     2.    Will the Court still require the submission of paper exhibits and materials
           prior to trial?

     3.    Will the Court still allow the use of paper exhibits and physical copies of
           deposition transcripts?

     4.    Will attorneys physically deliver exhibits and transcripts to the court
           reporter and/or courtroom deputy? Will the same occur for any other
           documents handed out during trial?

     5.    Must the parties approach witnesses to hand them documents (including
           impeachment documents)?

     6.    Must the parties hand paper documents (including exhibits, demonstratives,
           impeachment documents, and transcripts) to opposing counsel?

     7.    How will the Court and parties ensure the safety of such transfers?

     8.    How will jurors know they have safe access to all exhibits during
           deliberation?

H.   Sidebars

     1.    How will sidebars work while maintaining social distancing?

     2.    Will there be limits on the number of attorneys that may participate?

     3.    Will the jury be removed from the courtroom during each sidebar to avoid
           hearing discussions that must occur at a distance?




                                    11
            Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 12 of 14




       I.       Technology

                1.     Is the Court planning to employ any special technology to facilitate trial? If
                       so, will there be a Court staff technology assistant on hand to minimize
                       disruption?

                2.     Will jurors have any special technology to account for concerns related to
                       COVID-19?

                3.     Will attorneys use microphones so that they can be heard by socially
                       distancing courthouse members? How will objections work?

                4.     Does the Court intend to require or allow any remote video/audio, and if so
                       what planning, rules, and procedures will exist to facilitate that complicated
                       process?

                5.     If the number of attorneys present in the courtroom will be limited, may the
                       parties have an audio/video connection to attorneys/trial team members set-
                       up in another room at the courthouse or in a remote location?

                6.     What are the Internet capabilities in the courtroom?

                7.     If there is no wireless Internet in the courtroom (which is our
                       understanding), will the parties be permitted to use hard line Ethernet
                       connections?

                8.     Is there a limit to the number of Internet hot spots the parties may bring into
                       the courtroom?

                9.     Will there be time to test the audio/video components ahead of the start of
                       trial each day and at the end of each day in preparation for the next day’s
                       witnesses?

                                          *      *       *

       We recognize that this list does not contain an exhaustive treatment of the considerations

that need to be addressed before proceeding to a jury trial during the on-going public health

emergency. The answers to the above questions will inevitably lead to additional questions, and

in this particular case we believe the discussion will lead to the conclusion that no trial can be

designed at this time to adequately account for the serious risks to public and personal health.




                                                 12
       Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 13 of 14




Dated: June 2, 2020                    Respectfully submitted,

                                         /s/ Alfred C. Pfeiffer Jr.
                                       Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       505 Montgomery Street, Suite 2000
                                       San Francisco, CA 94111
                                       Telephone: 415-391-0600
                                       Facsimile: 415-395-8095
                                       Email: al.pfeiffer@lw.com

                                       Margaret M. Zwisler (admitted pro hac vice)
                                       Jennifer L. Giordano (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       555 Eleventh Street, NW, Suite 1000
                                       Washington, DC 20004
                                       Telephone: 202-637-2200
                                       Facsimile: 202-637-2201
                                       Email: margaret.zwisler@lw.com
                                       Email: jennifer.giordano@lw.com
                                       W. Todd Miller (admitted pro hac vice)
                                       BAKER & MILLER PLLC
                                       2401 Pennsylvania Avenue, NW, Suite 300
                                       Washington, DC 20037
                                       Telephone: 202-663-7820
                                       Facsimile: 202-663-7849
                                       Email: tmiller@bakerandmiller.com
                                       Ian P. Carleton
                                       SHEEHEY FURLONG & BEHM P.C.
                                       30 Main Street, P.O. Box 66
                                       Burlington, VT 05402
                                       Telephone: 802-864-9891
                                       Email: icarleton@sheeheyvt.com
                                       Counsel for Defendants Dairy Farmers of
                                       America, Inc. and Dairy Marketing Services,
                                       LLC
         Case 2:16-cv-00287-cr Document 218 Filed 06/02/20 Page 14 of 14




                               CERTIFICATE OF SERVICE

        I hereby certify that on June 2, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system. The CM/ECF system will provide service of such
filing via Notice of Electronic Filing (NEF) to the following NEF parties:

       Joel G. Beckman, Esq. (jbeckman@nbparis.com)
       Gary L. Franklin, Esq. (gfranklin@primmer.com)
       William C. Nystrom, Esq. (wnystrom@nbparis.com)
       Elizabeth A. Reidy, Esq. (ereidy@nbparis.com)
       Dana A. Zakarian, Esq. (dzakarian@nbparis.com)


Dated: June 2, 2020                                   /s/ Alfred C. Pfeiffer Jr.
                                                    Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    505 Montgomery Street, Suite 2000
                                                    San Francisco, CA 94111
                                                    Telephone: 415-391-0600
                                                    Facsimile: 415-395-8095
                                                    Email: al.pfeiffer@lw.com
